                   UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

IN RE:                                          Case No. 20-51066-mar

HFV LIQUIDATING TRUST,                          Chapter 11

                      Debtor.                   Honorable Mark A. Randon



SHELDON STONE, as trustee for the               Adv. No. [XX-XXXX]
HFV Liquidating Trust,

               Plaintiff,
                                                JURY TRIAL DEMANDED
v.

LIFE CARE SERVICES, LLC, and
BRUCE BLALOCK,

               Defendants.




                             ADVERSARY COMPLAINT

         Plaintiff, Sheldon Stone (the “Plaintiff”), not individually but solely in his

capacity as the Liquidating Trustee of the HFV Liquidating Trust (the “Trust”), files

this adversary complaint (the “Complaint”) against Life Care Services, LLC, an

Iowa limited liability company (“LCS”), and Bruce Blalock, an individual

(“Blalock” and together with LCS, “Defendants”), and alleges as follows:




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                               Nature of the Action

         1.   Henry Ford Village, Inc. (“HFV” or “Debtor”) was a nonprofit

corporation that owned and operated a continuing care retirement community

(“CCRC”) located in Dearborn, Michigan (the “Community”). Beginning in 2010,

HFV entered into a management agreement for LCS to become its agent and

manager of the Community, responsible for developing and implementing the

policies of HFV and managing the day-to-day financial affairs and operations of the

Community. LCS installed one of its employees, Blalock, as the full-time Executive

Director of the Community reporting to the HFV’s board of directors.

         2.   HFV placed its trust in LCS and Blalock to fulfill their obligations

under the management agreement and faithfully discharge their fiduciary duties to

HFV. Defendants betrayed that trust by failing to implement operational and

financial controls necessary to serve HFV’s residents and protect the financial

stability of the Community. Under Defendants’ management, HFV’s financial

performance rapidly deteriorated and HFV fell into severe financial distress.

         3.   Instead of disclosing these growing problems to HFV’s board of

directors and implementing appropriate corrective action, including a timely chapter

11 bankruptcy filing, Defendants instead took actions to protect the interests of LCS

at the expense of HFV in breach of Defendants’ fiduciary duties. Beginning in June

2019, while HFV was in severe financial distress and unable to pay many of its

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creditors, Defendants directed HFV to begin transferring over $1.3 million to LCS,

purportedly on account of invoices that were several years old.          Defendants’

mismanagement and unlawful transfers dissipated HFV’s remaining assets,

accelerated HFV’s financial distress and caused a substantial increase in

restructuring costs for HFV due to its delayed chapter 11 bankruptcy filing.

         4.   Defendants’ actions caused catastrophic damage to HFV and its

bankruptcy estate, with creditors asserting over $50 million of claims that have not

been paid, including entrance fee refunds promised to HFV’s former residents.

Plaintiff, as the successor to HFV in this bankruptcy case, now brings this action for

damages and other relief against Defendants for their conduct.

                              Jurisdiction and Venue

         5.   The United States Bankruptcy Court for the Eastern District of

Michigan (the “Court”) has jurisdiction over this adversary proceeding pursuant to

28 U.S.C. §§ 157 and 1334. The adversary proceeding arises in the above-captioned

chapter 11 case proceeding under title 11 of the United States Code, 11 U.S.C. §101–

1532 (the “Bankruptcy Code”). This is a core proceeding within the meaning of

28 U.S.C. § 157(b)(2). This adversary proceeding is commenced pursuant to Rule

7001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and

rules 9014-1 and 9015-1 of the Local Rules for the United States Bankruptcy Court




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for the Eastern District of Michigan (the “Local Rules”). Venue is proper pursuant

to 28 U.S.C. §§ 1408 and 1409.

                               Jury Trial Demanded

         6.   Pursuant to Federal Rule of Civil Procedure 38(b), made applicable to

this proceeding by Bankruptcy Rule 9015(a), Plaintiff demands a jury trial on all

issues triable by jury.

         7.   Pursuant to 28 U.S.C. § 157(e), Bankruptcy Rule 9015, and Local Rule

9015, Plaintiff does not consent to have a jury trial conducted by a bankruptcy judge.

                                       Parties

         8.   Plaintiff Sheldon Stone is the Trustee of the HFV Liquidating Trust

formed pursuant to the Order (I) Approving Disclosure Statement on a Final Basis

and (II) Confirming Chapter 11 Plan of Henry Ford Village, Inc. entered by the

Court on December 6, 2021 [Docket No. 663] (the “Confirmation Order”) and the

chapter 11 plan annexed thereto (the “Plan”).

         9.   Defendant Life Care Services, LLC is an Iowa limited liability

company with its principal place of business at 400 Locust St., Suite 820, Des

Moines, IA 50309. LCS is the former manager of Henry Ford Village, Inc. pursuant

to that certain management agreement dated November 1, 2016 (the “Management

Agreement”). As the manager and agent of HFV, LCS owed HFV fiduciary duties

of care and loyalty, which it breached as set forth herein.

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         10.   Defendant Bruce Blalock is an individual who was an employee of LCS

and served as an officer and Executive Director of Henry Ford Village, Inc. Upon

information and belief, Blalock is a citizen and resident of the State of Michigan. As

the Executive Director of HFV, Blalock owed fiduciary duties of care and loyalty,

which he breached as set forth herein.

                                  Statement of Facts

I.       HFV’s Operations and the Entrance Fee Refund Model.

         11.   Henry Ford Village, Inc. was a Michigan nonprofit corporation

established to own and operate a continuing care retirement community (commonly

referred to as a CCRC) located at 15101 Ford Road, Dearborn, Michigan 48126.

HFV provided its residents with a senior living community comprised of

independent living units, assisted living units and skilled nursing beds located on

one campus that allowed residents to have their living and healthcare needs met as

they moved through different phases of life.

         12.   HFV operated the Community as an entrance fee model CCRC, which

meant that new residents moving into an independent living unit were required to

pay a substantial entrance fee (an “Entrance Fee”) upon signing a residency

agreement (each, a “Residency Agreement”) and entering the Community. Some or

all of the entrance fee was refundable back to the resident or their estate upon the

resident’s departure from the Community (an “Entrance Fee Refund”). As of

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January 1, 2020, entrance fees at HFV ranged from $27,500 to $356,000 and often

comprised a substantial portion of the resident’s life savings.

         13.   HFV was regulated by the Michigan Continuing Care Community

Disclosure Act (the “MCCCDA”), which required, among other things, HFV to

provide a disclosure statement (the “Disclosure Statement”) to prospective residents

interested in signing a Residency Agreement and entering the Community. The

purpose of the Disclosure Statement was to provide the prospective resident with all

material facts about HFV and their potential residency, including the financial

stability of the Community.

         14.   HFV offered prospective residents a variety of residency plans that

evolved over time. The residency plans differed in the amount of the required

Entrance Fee, the amount of certain additional monthly service fees, and the percent

of the Entrance Fee to be refunded back to the resident upon their departure from the

Community.1 After payment of the Entrance Fee and execution of the Residency

Agreement, the new resident moved into their unit and was entitled to receive

continuing care services from HFV. When their residency terminated, the former

resident or their designee was entitled to their Entrance Fee Refund within 30 days




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     In addition to the Entrance Fee residency plans, residents also had the option to
     enter into rental residency plans, which did not require payment of an Entrance
     Fee.
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following the re-occupancy of their independent living unit and payment of a new

Entrance Fee by a new resident.

         15.   HFV pitched Entrance Fee residency plans as safe investments that

simultaneously provided for a resident’s long-term care while guaranteeing the

repayment of substantial Entrance Fee Refunds to their heirs. HFV residents relied

upon these Entrance Fee Refunds as investments they could pass on as a legacy to

their children and grandchildren. Under Defendants’ management, HFV never

adequately informed prospective residents of the risk that an Entrance Fee Refund

might not be repaid. Instead, HFV aggressively marketed Entrance Fee residency

plans to unsuspecting future residents even as the financial stability of the

Community deteriorated.

         16.   Revenue generated from Entrance Fees paid by new residents was

required not only to fund the day-to-day operations and debt obligations of HFV, but

also to pay Entrance Fee Refunds owed to former residents of HFV. That is, HFV’s

ability to timely satisfy its Entrance Fee Refund obligations to its former residents

depended on its ability to convince new residents to sign Residency Agreements,

pay new Entrance Fees and move into the Community.

         17.   Under Defendants’ management, HFV failed to attract enough new

residents to generate the revenue necessary to timely repay Entrance Fee Refunds to

its former residents, resulting in the accrual of substantial unpaid Entrance Fee

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Refunds and broken promises to HFV’s former residents who had trusted HFV with

their life savings. Even after Defendants knew, or should have known, that HFV

could not meet its obligations to pay Entrance Fee Refunds, Defendants allowed

HFV to continue to aggressively recruit new residents to pay new Entrance Fees and

move into the Community without adequately disclosing the increasing risk that

HFV could not honor its obligation to pay the corresponding Entrance Fee Refund

when due. This mismanagement resulted in the accrual of millions of additional

Entrance Fee Refund liabilities for HFV that Defendants knew, or should have

known, HFV would be unable to pay. Making matters worse, as the financial

condition of HFV continued to deteriorate, Defendants unreasonably and improperly

delayed corrective action, including promptly seeking bankruptcy protection, and

instead directed HFV to make over $1.3 million in transfers to LCS, which dissipated

critical liquidity for HFV and drastically increased HFV’s liabilities, including

significant restructuring costs required for HFV’s delayed bankruptcy filing on

October 28, 2020 (the “Petition Date”).

         18.   At the time HFV filed for bankruptcy, it had accrued well over $110

million of Entrance Fee Refund liabilities, including over $7 million of past-due

Entrance Fee Refunds promised but not paid to HFV’s former residents and their

families.




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II.      Corporate Governance and Management of Henry Ford Village, Inc.

         A.    The HFV Board of Directors

         19.   HFV was governed by a board of directors (the “Board”). The Board

relied on the advice of LCS, as its third-party manager, and Blalock, as its Executive

Director, in setting corporate policies for HFV and monitoring HFV’s operations

and financial performance.

         B.    LCS’s Management Agreement and Responsibilities

         20.   On December 1, 2010, HFV first engaged LCS to manage the

operations and finances of the Community pursuant to a Management Agreement

(the “Initial Management Agreement”). On November 1, 2016, HFV and LCS

entered into a new Management Agreement. A copy of the Management Agreement

is attached hereto as Exhibit A. Pursuant to the Management Agreement, LCS

assumed responsibility as the agent of HFV and undertook the accompanying

fiduciary duties of care and loyalty owed by an agent to its principal.

         21.   The Management Agreement required LCS, as agent and fiduciary of

HFV, to, among other things, implement the policies, budgets, directives and goals

of HFV and manage the day-to-day operations of the Community. See Management

Agreement § 1.1.2 The Management Agreement also required LCS to recommend,




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      Section 1.1 of the Management Agreement states:
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develop, install and maintain appropriate operating procedures, systems and controls

for the Community. See id. § 2.1. Additional obligations of LCS included:

                Establish and maintain a system of financial controls for HFV (see id.
                 § 2.3);

                Provide an Executive Director and other Directors (i.e., Director of
                 Healthcare) for the Facility (see id. § 2.5);

                Maintain insurance for its employees for, among other things,
                 management errors and omissions liability (see id. § 2.7); and

                Maintain the “highest ethical standards” and comply with “all laws,
                 regulations, policies and procedures, which apply to their workplace.”
                 (see id., Attachment 1, the “Life Care Services Code of Conduct”).

         22.      In short, LCS, as manager, agent and fiduciary of HFV, was required

to provide services essential to the successful day-to-day operation and financial

management of HFV.

         23.      In conjunction with entering the Management Agreement, LCS and

HFV also executed a Memorandum of Understanding (the “MOU,” attached hereto



     Section 1.1. General Responsibility of LCS. LCS assumes responsibility, as
     agent of the Owner, to serve as the real estate manager of the Community, and
     in connection therewith, to recommend and regularly evaluate policies and goals
     of the Owner, implement the policies, budgets, directives, and goals for the
     Community established by the Owner, manage the day-to-day operations of the
     Community in accordance with the Owner’s policies, directives and goals,
     provide the Owner with relevant information (as hereinafter provided) as to past
     operations, and make recommendations as to the future of the Community. LCS
     is an independent contractor, and not a partner or joint venturer with the Owner.
     The services of LCS are more particularly described in Article II.
     (emphasis added).
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as Exhibit B). In the MOU, HFV acknowledged that, as of October 24, 2016, there

was $2,089,941.82 in outstanding invoices owed to LCS under the Initial

Management Agreement (the “Aged Invoices”). Pursuant to the MOU, LCS was

required HFV to pay all new LCS invoices in full each month as “a priority payment”

and to repay the Aged Invoices as part of a “five year financial plan.”

         24.   Consistent with its obligations under the Management Agreement, LCS

provided HFV with two of its employees: Defendant Bruce Blalock, who served as

the Executive Director of HFV, and Heather Scott, who served as the Administrator

of Health Services of HFV. As Executive Director, Blalock owed fiduciary duties

of care and loyalty to HFV. Blalock reported directly to the Board, developed

strategic objectives for HFV, and served as the chief administrative officer for HFV.

As the highest-ranking officer of HFV, Blalock was responsible for developing and

implementing all aspects of the Community’s operations and finances.

         25.   The following is the corporate organizational chart for HFV:




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III.      Defendants’ Mismanagement Deepens the Financial Distress at HFV.

          26.    Under Defendants’ management, HFV began to experience significant

financial distress, including decreasing occupancy, increasing Entrance Fee Refund

obligations, and decreasing cash available to pay its operating costs and long-term

bond debt.

          27.    From 2010, when LCS was first hired to manage HFV, through 2020,

when HFV ultimately filed for bankruptcy, HFV’s occupancy for independent living

units steadily declined from 81% down to 68.8%, as reflected in the following chart:



                Henry Ford Village, Inc. — Year End Independent Living Census 2010 ‐ 2020
                 2010    2011   2012    2013    2014    2015    2016    2017    2018     2019     2020

 Capacity        856     856     856     856     855     854     854     853     853        853   841

 Census          696     675     668     642     633     644     647     633     620        629   587

 Percent
                 81%     79%     78%     75%     74%     75%     76%    74%     73%       74%     69%
 Occupied



          28.    This decline in occupancy for independent living units resulted in a

corresponding decline in Entrance Fees paid into HFV. The decrease in revenue

from new Entrance Fees put pressure on HFV’s ability to pay Entrance Fee Refunds

as they came due. As a result, HFV began defaulting on its obligations under the

Residency Agreements—and breaking the promises made to HFV residents and their

families—to timely pay Entrance Fee Refunds when due, as reflected by the

explosive growth of accrued Entrance Fee Refund liabilities from approximately
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$600,000 when Defendants began managing HFV in 2010 to $7 million when HFV

ultimately filed for bankruptcy in 2020, as reflected in the following chart:

                              Year          Resident Refunds Payable
                              2010          $ 621,231.00
                              2011          $ 974,033.00
                              2012          $ 1,692,343.00
                              2013          $ 938,501.00
                              2014          $ 1,171,184.00
                              2015          $ 3,452,076.00
                              2016          $ 2,969,661.00
                              2017          $ 3,739,556.00
                              2018          $ 6,187,965.00
                              2019          $ 5,752,759.00
                              2020          $ 7,000,000.00



         29.   Instead of disclosing these issues to the Board and recommending a

corrective plan, such as seeking immediate relief under the Bankruptcy Code,

Defendants instead painted an unrealistic rosy picture that ignored the growing

financial distress at HFV. As a result, unsuspecting vendors continued to extend

credit to HFV that was never repaid.

         30.   Even worse, despite HFV’s deteriorating financial performance,

Defendants allowed HFV to continue to aggressively market and sell Entrance Fee

residency agreements to new, unsuspecting residents and their families without

adequately disclosing the growing financial distress at HFV. At the same time,

Defendants instructed and/or allowed HFV to delay and withhold Entrance Fee

Refunds and improperly pressure former residents and their families to agree to



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accept a lower Entrance Fee Refund than required under the Residency Agreement

in breach of their fiduciary duties, which caused additional damage to HFV.

         A.    As HFV’s Financial Condition Worsens, Defendants Delay
               Corrective Action and Direct HFV to Transfer Millions to LCS.

         31.   By June 2019, HFV’s occupancy for independent living units had

dropped to 72%, and its unpaid Entrance Fee Refund liabilities had ballooned to over

$5.7 million. At this time, Defendants should have advised HFV to seek bankruptcy

protection to preserve liquidity, prevent the accrual of further liabilities and

maximize the value of its assets for creditors. Instead, Defendants directed HFV to

begin making over $1.3 million in transfers to LCS over several months on account

of the Aged Invoices that were several years old. Upon information and belief, this

decision was never authorized by—or even disclosed to—the HFV Board. Rather,

LCS, as the agent and manager of HFV, and Blalock, as the Executive Director of

HFV with control over its operations, finances and accounting, directed the transfer

of over $1.3 million to LCS at a time when HFV was in severe financial distress and

not paying Entrance Fee Refunds to former residents and other unsecured

obligations. These actions dissipated assets and critical liquidity at a time when HFV

was most vulnerable, instead of preserving that liquidity and seeking immediate

protection in bankruptcy.

         32.   Starting on June 14, 2019, and continuing through the Petition Date,

Defendants caused HFV to transfer a total of at least $1,360,702.52 to LCS on
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account of the Aged Invoices that were several years old. In total, HFV transferred

over $6.2 million to LCS prior to the Petition Date.

         33.   Upon information and belief, Defendants delayed a timely bankruptcy

filing for HFV and instead directed HFV to transfer its limited cash to pay LCS’s

Aged Invoices—which had otherwise remained unpaid for years—because it knew

that these Aged Invoices might otherwise only receive a small distribution in

bankruptcy.

         34.   These improper payments to LCS dissipated the assets and critical

liquidity of HFV when it should have been used to prepare a bankruptcy filing to

preserve and maximize the value of HFV’s assets for all creditors.

         35.   As a result of Defendants’ actions, hundreds of former residents and

their families lost tens of millions in Entrance Fee Refunds that, in many instances,

constituted their life savings entrusted to HFV.

IV.      Chapter 11 Bankruptcy Filing

         36.   More than 16 months after Defendants directed HFV to transfer

millions to LCS on account of the Aged Invoices, HFV eventually filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code on the Petition Date. At

the time of filing, the Debtor disclosed a whopping $112.3 million of Entrance Fee

Refund liabilities, including $7.0 million of past due Entrance Fee Refunds owed to

former residents and their families.

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         37.   The Debtor was forced to incur substantial professional fees and obtain

expensive debtor-in-possession financing of over $3.2 million as a result of HFV’s

unreasonable delay in seeking bankruptcy protection.

         38.   In bankruptcy, the Debtor commenced a marketing and sales process to

sell the Community subject to bid procedures approved by the Bankruptcy Court.

Despite its best efforts, the Debtor was unable to find a buyer willing to maintain the

entrance fee model and honor existing Entrance Fee Refund liabilities—as is typical

in the sale of an entrance fee CCRC—because of the massive amount of unpaid

Entrance Fee Refund liabilities that Defendants permitted to accrue without any

corrective action or earlier bankruptcy filing in the months and years leading up to

the Petition Date. Instead, the Debtor sold the Community to a new third-party

owner and operator that converted the Community into a for profit rental model

senior living facility.

         39.   The sale of the Community closed on September 30, 2021. Pursuant to

the Sale Order, proceeds from the sale were first used to pay off the Debtor’s secured

bond debt with the remaining proceeds used to fund a chapter 11 plan of liquidation

for the benefit of the Debtor’s remaining creditors.

         40.   On December 6, 2021, the Bankruptcy Court entered the Confirmation

Order approving the Plan.




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         41.   The main purpose of the Plan was to establish the HFV Liquidating

Trust as the successor to the Debtor to take title to all remaining assets of the estate,

including net cash proceeds from the sale of the Community and all estate causes of

action. See generally Plan, Art. IV.

         42.   Specifically, Section 4.6 of the Plan provides that on the Effective Date,

the Debtor and its estate shall be deemed to have transferred and/or assigned to the

Trust any and all assets of the Debtor and its estate, including all causes of action of

the Debtor and its estate. See Plan § 4.6.

         43.   The Plan became effective on January 19, 2022 (the “Effective Date”).

         44.   As of the Effective Date, the Trust was formed and the Debtor

transferred all its remaining assets, including estate causes of action, to the Trust.

Sheldon Stone of Capstone Partners was appointed the Trustee pursuant to the

Confirmation Order and Plan. The Trustee is responsible for administering all Trust

assets, including the investigation and pursuit of estate causes of action, including

estate claims against Defendants.

                                CAUSES OF ACTION

                                     COUNT ONE

                           Breach of Fiduciary Duty of Care
                            (Defendants LCS and Blalock)

         45.   Plaintiff repeats and realleges each and every allegation in all prior

paragraphs, which are incorporated by reference as if set forth fully herein.
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         46.   As the manager and agent of HFV, LCS owed fiduciary duties to HFV,

including the duty of care.

         47.   As the Executive Director of HFV, Defendant Blalock also owed

fiduciary duties to HFV, including the duty of care.

         48.   Defendants breached their fiduciary duties of care through the conduct

described above, including but not limited to:

               (a)    failing to recommend, develop, install and maintain effective

               operating procedures, systems and controls for HFV;

               (b)    failing to establish and maintain a system of effective financial

               controls for HFV;

               (c)    directing HFV to delay or withhold payment of Entrance Fee

               Refunds owed to former Residents and their families in violation of the

               Residency Agreements;

               (d)    allowing millions of Entrance Fee Refund liabilities to accrue

               and push HFV deeper into financial distress;

               (e)    failing to appropriately disclose to the HFV Board the severe and

               growing financial distress of HFV and recommend corrective action,

               including a timely bankruptcy filing to preserve and maximize value

               for creditors;




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               (f)    failing to appropriately disclose to prospective residents and

               other unsecured creditors the severe and growing financial distress of

               HFV and resulting risk of default; and

               (g)    directing HFV to transfer to LCS millions in the months and

               years leading up to the Petition Date when Defendants knew, or should

               have known, that HFV was in severe financial distress, unable to pay

               Entrance Fee Refunds promised to former residents and their families,

               and on the verge of bankruptcy.

         49.   Defendants’ breaches of their fiduciary duties of care resulted in HFV

incurring additional and unnecessary indebtedness well beyond its ability to pay,

breaching commitments to its residents and incurring millions of additional expenses

due to HFV’s unreasonably delayed bankruptcy filing. As a result, the Debtor’s

creditors have been harmed and will not receive the full amount that they were owed

by HFV.

         50.   Defendants’ breaches of their fiduciary duties of care damaged HFV

and its bankruptcy estate in an amount to be proven at trial.

                                     COUNT TWO

                         Breach of Fiduciary Duty of Loyalty
                           (Defendants LCS and Blalock)

         51.   Plaintiff repeats and realleges each and every allegation in all prior

paragraphs, which are incorporated by reference as if set forth fully herein.
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         52.   As the manager and agent of HFV, LCS owed fiduciary duties to HFV,

including the duty of loyalty.

         53.   As the Executive Director of HFV, Defendant Blalock also owed

fiduciary duties to HFV, including the duty of loyalty.

         54.   Defendants breached their fiduciary duties of loyalty to HFV through

the conduct described above, including but not limited to (a) directing HFV to

transfer to LCS over $1.3 million in the months and years leading up to the Petition

Date when Defendants knew that HFV was in severe financial distress, unable to

pay Entrance Fee Refunds promised to former residents and their families, and on

the verge of bankruptcy, and (b) failing to disclose to or seek approval from the HFV

Board for these payments.

         55.   Defendants’ breaches of their fiduciary duties of loyalty resulted in the

depletion of critical liquidity and substantial increase in liabilities and expenses due

to HFV’s unreasonably delayed bankruptcy filing. As a result, the Debtor’s creditors

have been harmed and will not receive the full amount that they were owed by HFV.

         56.   Defendants’ breaches of their fiduciary duties of loyalty damaged HFV

and its bankruptcy estate in an amount to be proven at trial.

                                   COUNT THREE

                  Avoidance of Preferential Transfers Pursuant to
                                  11 U.S.C. § 547
                                 (Defendant LCS)

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         57.   Plaintiff repeats and realleges each and every allegation in all prior

paragraphs, which are incorporated by reference as if set forth fully herein.

         58.   As the managing agent of HFV, Defendant LCS was an insider of

Debtor pursuant to 11 U.S.C. § 101(31)(F).

         59.   During the one year prior the Petition Date (the “Preference Period”),

HFV made transfers to or for the benefit of Defendant LCS in an aggregate amount

not less than $1,008,643.77 (the “Preferential Transfers”).

         60.   Each of the Preferential Transfers was made by HFV and constituted

transfers of an interest in HFV’s property.

         61.   Defendant LCS was a creditor of HFV at the time of each of the

Preferential Transfers.

         62.   Each of the Preferential Transfers was to or for the benefit of LCS as a

creditor within the meaning of 11 U.S.C. § 547(b)(1) because each transfer either

reduced or fully satisfied a debt or debts then owed by HFV to LCS.

         63.   Each of the Preferential Transfers was made for, or on account of, an

antecedent debt or debts owed by HFV to LCS before such Preferential Transfers

were made, each of which constituted a “debt” or “claim” (as those terms are defined

in the Bankruptcy Code) of LCS prior to being paid by HFV.

         64.   Each of the Preferential Transfers was made while HFV was insolvent.




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         65.   Each of the Preferential Transfers was made during the Preference

Period.

         66.   As a result of the Preferential Transfers, LCS received more than it

would have received if (i) HFV’s bankruptcy case was a case under chapter 7 of the

Bankruptcy Code; (ii) the Preferential Transfers had not been made; and (iii) LCS

received payments of its debts under the provisions of the Bankruptcy Code.

         67.   Each of the Preferential Transfers is avoidable pursuant to 11 U.S.C.

§ 547(b).

                                   COUNT FOUR

                  Avoidance of Fraudulent Transfers Pursuant to
                             11 U.S.C. § 548(a)(1)(A)
                                (Defendant LCS)

         68.   Plaintiff repeats and realleges each and every allegation in all prior

paragraphs, which are incorporated by reference as if set forth fully herein.

         69.   Pursuant to 11 U.S.C. § 548, a trustee or debtor may avoid any transfer

of an interest of the debtor in property, or any obligation that was incurred by the

debtor, that was made or incurred within two years before the Petition Date if the

debtor voluntarily or involuntarily made such transfer or incurred such obligation

with actual intent to hinder or delay, any entity to which the debtor was or became

on or after the date that such transfer was made or such obligation was incurred,

indebted.

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         70.   HFV made transfers to LCS of at least $1,656,052.23 in the two years

prior to the Petition Date (the “Bankruptcy Fraudulent Transfers”).

         71.   HFV made the Bankruptcy Fraudulent Transfers to LCS with the intent

to delay and/or hinder payments owed to other creditors of HFV, including former

residents and their families owed substantial Entrance Fee Refunds.

         72.   LCS did not receive the Bankruptcy Fraudulent Transfers in good faith

due to its knowledge of the impaired financial condition of HFV, its knowledge of

and/or direction to HFV to make the Bankruptcy Fraudulent Transfers, and/or its

knowledge of the voidability of the Bankruptcy Fraudulent Transfers.

         73.   The Bankruptcy Fraudulent Transfers are avoidable pursuant to

11 U.S.C. § 548(a)(1)(A).

                                    COUNT FIVE

                  Avoidance of Fraudulent Transfers Pursuant to
                      11 U.S.C. § 544, MCL § 566.31, et seq.
                                (Defendant LCS)

         74.   Plaintiff repeats and realleges each and every allegation in all prior

paragraphs, which are incorporated by reference as if set forth fully herein.

         75.   Pursuant to 11 U.S.C. § 544 and MCL § 566.31 et. seq., (“MUVTA”)

a trustee or debtor may avoid any transfer of an interest of the debtor in property, or

any obligation that was incurred by the debtor, that was made or incurred within six

years before the Petition Date if the debtor voluntarily or involuntarily made such

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transfer or incurred such obligation with actual intent to hinder or delay, any entity

to which the debtor was or became, on or after the date that such transfer was made

or such obligation was incurred, indebted.

         76.   HFV made transfers to LCS of at least $4,137,350.02 in the six years

prior to the Petition Date (the “MUVTA Fraudulent Transfers” and together with the

Bankruptcy Fraudulent Transfers and Preferential Transfers, the “Avoidable

Transfers”).

         77.   HFV made the MUVTA Fraudulent Transfers to LCS with the intent to

delay and/or hinder payments owed to other creditors of HFV, including former

residents and their families owed substantial Entrance Fee Refunds.

         78.   LCS did not receive the MUVTA Fraudulent Transfers in good faith

due to its knowledge of the impaired financial condition of HFV, its knowledge of

and/or direction to HFV to make the Fraudulent Transfers, and/or its knowledge of

the voidability of the MUVTA Fraudulent Transfers.

         79.   The MUVTA Fraudulent Transfers are avoidable pursuant to 11 U.S.C.

§ 544 and MCL § 566.34.

                                     COUNT SIX

                   Recovery of Avoidable Transfers Pursuant to
                                 11 U.S.C. § 550
                                (Defendant LCS)




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         80.   Plaintiff repeats and realleges each and every allegation in all prior

paragraphs, which are incorporated by reference as if set forth fully herein.

         81.   Plaintiff is entitled to avoid each of the Avoidable Transfers pursuant

to 11 U.S.C. §§ 544, 547 and 548.

         82.   Defendant LCS was the initial transferee of each of the Avoidable

Transfers.

         83.   Pursuant to 11 U.S.C.§ 550(a), Plaintiff is entitled to recover from

Defendant LCS each of the Avoidable Transfers, plus interest thereon to the date of

payment and the costs of this action.

                                   COUNT SEVEN

                       Disallowance of all Claims Pursuant to
                                11 U.S.C. § 502(d)
                                 (Defendant LCS)

         84.   Plaintiff repeats and realleges each and every allegation in all prior

paragraphs, which are incorporated by reference as if set forth fully herein.

         85.   LCS is a transferee of transfers avoidable under 11 U.S.C. §§ 544, 547

and/or 548, which property is recoverable under 11 U.S.C. § 550.

         86.   LCS has not paid the amount of the Avoidable Transfers, or turned over

such property, for which LCS is liable under 11 U.S.C. § 550.

         87.   Pursuant to 11 U.S.C. § 502(d), any and all claims of LCS, against the

chapter 11 estate or Plaintiff must be disallowed until such time as LCS pays to

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Plaintiff an amount equal to the aggregate amount of the Avoidable Transfers, plus

interest thereon and costs.

                                   COUNT EIGHT

                 Equitable Subordination of all Claims Pursuant to
                                11 U.S.C. § 510(c)
                                (Defendant LCS)

         88.   Plaintiff repeats and realleges each and every allegation in all prior

paragraphs, which are incorporated by reference as if set forth fully herein.

         89.   Defendant LCS’s breach of fiduciary duties and fraudulent transfers

constituted inequitable conduct that harmed the Debtor’s bankruptcy estate and its

creditors. To remedy the harm caused by LCS’s inequitable conduct, any and all

claims LCS holds against the Debtor and its estate should be subordinated below the

claims of general unsecured creditors pursuant to 11 U.S.C. § 510(c).

         90.   Subordination of LCS’s claims is consistent with the provisions of the

Bankruptcy Code.

                               PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment

in favor of the Plaintiff as follows:

         (i)   Entry of judgment against Defendants LCS and Blalock for breach of

               fiduciary duty of care under Count One in an amount to be determined

               at trial;

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         (ii)    Entry of judgment against Defendants LCS and Blalock for breach of

                 fiduciary duty of loyalty under Count Two in an amount to be

                 determined at trial;

         (iii)   Entry of judgment against Defendant LCS avoiding all of the Avoidable

                 Transfers under Counts Three, Four and Five and directing Defendant

                 LCS to return to the Plaintiff the amount of the Avoidable Transfers

                 pursuant to 11 U.S.C. §§ 544, 547, 548, 550 and MCL § 566.34 under

                 Count Six plus pre-judgment interest and, to the fullest extent allowed

                 by applicable law, the costs and expenses of this action, including

                 without limitation, attorneys’ fees;

         (iv)    Entry of judgment against Defendant LCS disallowing any claim that

                 LCS may have against the Debtor’s bankruptcy estate under Count

                 Seven until such time as LCS repays to the Plaintiff the value of all

                 Avoidable Transfers pursuant to 11 U.S.C. § 502(d);

         (v)     Entry of judgment against Defendant LCS subordinating any claim that

                 LCS may have against the Debtor’s bankruptcy estate to all other

                 allowed claims under Count Eight; and

         (vi)    awarding any other relief the Court deems appropriate.




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Dated: June 3, 2022                Respectfully submitted,

                                   By: /s/ Eric E. Walker

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